                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

 MARCUS SHAWN WEST,                            )
                                               )
               Petitioner,                     )
                                               )
 v.                                            )      Nos.: 3:11-CR-113-TAV-HBG-3
                                               )            3:16-CV-262-TAV
 UNITED STATES OF AMERICA,                     )
                                               )
               Respondent.                     )


                                MEMORANDUM OPINION

        Before the Court is Petitioner’s supplemented pro se motion to vacate, set aside, or

 correct his sentence pursuant to 28 U.S.C. § 2255 [Docs. 170, 180]. Recently, the United

 States filed a motion to deny and dismiss the petition based on an intervening Supreme Court

 decision [Doc. 186]. Petitioner did not respond and the time for doing so has now passed

 [Doc. 183]. For the reasons below, the United States’ motion to deny and dismiss [Doc. 186]

 will be GRANTED and Petitioner’s supplemented § 2255 motion [Docs. 170, 180] will be

 DENIED and DISMISSED WITH PREJUDICE.

 I.     BACKGROUND

        In 2011, Petitioner pled guilty to conspiring to distribute and possess with intent to

 distribute oxycodone, in violation of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(C) [Presentence

 Investigation Report (PSR) ¶¶ 2, 8]. Based on two sets of Tennessee convictions—one for

 aggravated assault and aggravated burglary and one for possession of methamphetamine with

 intent to sell, the United States Probation Office deemed Petitioner to be a career offender

 under Section 4B1.1 of the United States Sentencing Guidelines with a Guidelines range of

 188 to 235 months’ imprisonment [Id. ¶¶ 33, 70]. In accordance with that designation, this


Case 3:11-cr-00113-TAV-JEM        Document 188       Filed 04/26/17     Page 1 of 9    PageID
                                        #: 756
 Court sentenced Petitioner to 135 months’ imprisonment on May 9, 2012 [Doc. 117].

 Petitioner did not appeal.

        Roughly three years later—on June 23, 2016, Petitioner filed a pro se petition

 challenging this Court’s use of his prior aggravated burglary and aggravated assault

 convictions as predicate crimes of violence based on Johnson, which held that the residual

 provision of the Armed Career Criminal Act (ACCA), 18 U.S.C. § 924(e), was

 unconstitutionally vague [Doc. 170 (arguing that the Guidelines residual clause is equally

 vague)]. During pendency of the appeal—on December 5, 2016, Petitioner supplemented his

 petition with a related, but novel ground for relief: the Supreme Court’s decision in Mathis v.

 United States, 136 S. Ct. 2243 (2016), removed his prior drug conviction from Section

 4B1.2’s definition of “controlled substance offense” [Doc. 180].1

        On March 6, 2017, the Supreme Court decided Beckles v. United States, holding that

 the United States Sentencing Guidelines are “not amenable to vagueness challenges.” 137

 S.Ct. 886, 894 (2017). Two weeks later, this Court entered an Order (1) explaining that

 Beckles necessarily meant that “Johnson . . . does not undermine sentences based on

 Guideline enhancements;” (2) instructing the parties to “file any motion that they want[ed]

 the Court to consider in conjunction with, or prior to, ruling on [the instant] petition[] on or


 1
          In Mathis, the Supreme Court held that: (1) a prior conviction does not qualify as a
 generic form of a predicate violent felony for purposes of the ACCA if an element of the crime
 of conviction is made broader than an element of the generic offense by way of an enumerated
 list of alternative factual means for satisfaction of the former; and (2) Iowa’s burglary statute—
 which defines “structure” to include “any building, structure, [or] land, water, or air vehicle”—
 had a broader locational component than generic burglary. 136 S. Ct. at 2247–48, 53–54.
 Because the “structure” element of Iowa’s burglary statute was broader than the parallel element
 of generic burglary, the Court concluded that the petitioner’s prior convictions were incapable of
 supporting enhancement under the enumerated-offense clause. Id. at 2257.
                                                   2


Case 3:11-cr-00113-TAV-JEM          Document 188        Filed 04/26/17     Page 2 of 9      PageID
                                          #: 757
 before April 1, 2017;” and (3) requiring that responsive pleadings be filed on or before April

 15, 2017 [Doc. 183]. On March 30, 2017, the United States filed a motion to dismiss

 Petitioner’s Johnson-based challenge to his career offender designation in light of Beckles

 [Doc. 186]. Petitioner did not file a response in opposition.

 II.    TIMELINESS OF SUPPLEMENTED PETITION

        Section 2255(f) places a one-year statute of limitations on all petitions for collateral

 relief under § 2255 running from either: (1) the date on which the judgment of conviction

 becomes final; (2) the date on which the impediment to making a motion created by

 governmental action in violation of the Constitution or laws of the United States is removed,

 if the movant was prevented from making a motion by such governmental action; (3) the date

 on which the right asserted was initially recognized by the Supreme Court, if that right has

 been newly recognized by the Supreme Court and made retroactively applicable to cases on

 collateral review; or (4) the date on which the facts supporting the claim or claims presented

 could have been discovered through the exercise of due diligence. 28 U.S.C. § 2255(f). This

 same provision governs the timeliness of later-filed amendments. Cameron v. United States,

 No. 1:05-cv-264, 2012 WL 1150490, at *3–6 (E.D. Tenn. April 5, 2012) (citing Olsen v.

 United States, 27 F. App’x 566 (6th Cir. Dec. 14, 2001)).               Petitioner has failed to

 demonstrate that subsections (f)(2) or (f)(4) apply to his case. i.e., he has not established that

 any illegal action by the government prevented him from making the timely petition or the

 existence of facts affecting his case that could not have previously been discovered through

 the exercise of due diligence. As such, timeliness of the supplemented petition depends on



                                                 3


Case 3:11-cr-00113-TAV-JEM          Document 188        Filed 04/26/17     Page 3 of 9      PageID
                                          #: 758
 whether submission of the grounds for relief therein complied with subsections (f)(1) and

 (f)(3).

           A.     Timeliness of Supplemented Petition Under Subsections (f)(1) and (f)(3)

           For purposes of the subsection (f)(1)—where the statutory period expires one year

 from the date on which the judgment of conviction becomes final—a “conviction becomes

 final at the conclusion of direct review.” Brown v. United States, 20 F. App’x 373, 374 (6th

 Cir. 2001) (quoting Johnson v. United States, 246 F.3d 655, 657 (6th Cir. 2001)). Using the

 same reasoning, the Sixth Circuit has made clear that “when a federal criminal defendant

 does not appeal to the court of appeals, [direct review concludes] upon expiration of the

 period in which the defendant could have appealed to [such court], even when no notice of

 appeal was filed.” Johnson v. United States, 457 F. App’x 462, 465 (6th Cir. 2012) (quoting

 Sanchez-Castellano v. United States, 358 F.3d 424, 427 (6th Cir. 2004)).              Petitioner’s

 conviction became final on May 23, 2012, fourteen days after the Court entered judgment on

 May 9, 2012. See Fed. R. App. Proc. 4(b)(1)(A)(i) (“In a criminal case, a defendant’s notice

 of appeal must be filed in the district court within [fourteen] days after . . . the entry of . . .

 judgment.”). The window for requesting relief under that subsection expired on May 23,

 2013, more than three years before submission of the petition and supplement.

           To the extent Petitioner attempts to rely on subsection (f)(3)’s independent one-year

 filing period for newly-recognized rights made retroactively applicable on collateral review

 as justification for submitting the petition and supplement after May 23, 2013, only his claim

 for collateral relief based on Johnson even arguably satisfies the conditions required to

 trigger that provision. See 28 U.S.C. § 2255(f)(3) (requiring reliance on a newly recognized

                                                 4


Case 3:11-cr-00113-TAV-JEM           Document 188        Filed 04/26/17     Page 4 of 9      PageID
                                           #: 759
 and retroactively applicable right); see also Welch v. United States, 136 S. Ct. 1257, 1265

 (2016) (“Johnson is . . . a substantive decision and so has retroactive effect . . . in cases on

 collateral review.”); In re Windy Watkins, 810 F.3d 375, 380–81 (6th Cir. 2015) (finding

 Johnson constitutes a new substantive rule of constitutional law made retroactively

 applicable on collateral review and thus triggers § 2255(h)(2)’s requirement for certification

 of a second or successive petition).

        By contrast, Petitioner’s Mathis-based challenge to use of his prior drug offense as a

 controlled substance offense Under Section 4B1.1(a)(3) does not assert a newly recognized

 right and thus cannot rely on the one-year filing window under subsection (f)(3). Mathis

 involved application of the categorical approach first adopted by the Supreme Court in

 Taylor v. United States, 495 U.S. 575, 599 (1990), and refined in Descamps v. United States,

 133 S. Ct. 2276 (2013), to a new set of facts. See Mathis, 136 S. Ct. at 2281 (citing

 “longstanding principles” and noting that prior “cases involving the modified categorical

 approach [had] already made exactly [the same] point”); Id. at 2257 (“Our precedents make

 this a straightforward case. For more than [twenty-five] years, we have repeatedly made

 clear that application of the [Armed Career Criminal Act (ACCA)] involves, and involves

 only, comparing elements.”). As such, the holding of that case cannot be characterized as

 articulating a “rights-creating rule,” i.e., a newly recognized right within the scope of §

 2255(f)(3). See, e.g., Henderson v. United States, No. 16-00572, 2016 WL 4967898, at *2

 (W.D. Mo. Sept. 16, 2016) (“[The] Mathis [decision] does not present a new rule or

 procedure.”); Leone v. United States, No. 95-00960, 2016 WL 4479390, at *8–9 (S.D. Fla.

 Aug. 24, 2016) (noting that the Mathis decision did not articulate a “new rule” within the

                                                5


Case 3:11-cr-00113-TAV-JEM          Document 188       Filed 04/26/17     Page 5 of 9     PageID
                                          #: 760
 meaning of subsection (f)(3)). Thus, timeliness of Petitioner’s Mathis-based ground depends

 on tolling.

        B.     Equitable Tolling of Subsection (f)(1)

        Section 2255(f)’s statute of limitations is not jurisdictional and may be tolled under

 extraordinary circumstances. Dunlap v. United States, 250 F.3d 101, 1007 (6lth Cir. 2001).

 Used sparingly, a petitioner bears the burden of establishing that equitable tolling applies to

 his case, see Jurado v. Burt, 337 F.3d 638, 642 (6th Cir. 2003); Allen v. Yukins, 366 F.3d

 396, 401 (6th Cir. 2004), and must show “(1) that he has been pursuing [his] rights diligently,

 and (2) that some extraordinary circumstance stood in [his] way and prevented timely filing,”

 Holland v. Florida, 130 S. Ct. 2549, 2562 (2010); Hail v. Warden, 662 F.3d 745, 750 (6th

 Cir. 2011); see also Jurado, 337 F.3d at 643 (“Absent compelling equitable considerations, a

 court should not extend limitations by even a single day.”).

        Review of the original filing, supplement, and reply to the United States’ response fail

 to reveal any extraordinary circumstance justifying Petitioner’s failure to challenge the status

 of his prior drug offense under Section 4B1.1(a)(3) within the window permitted by

 subsection (f)(1). Compare Stovall v. United States, No. 1:12-cv-377, 2013 WL 392467, at

 *3 (E.D.T.N. Jan. 31, 2013) (rejecting request for equitable tolling of subsection (f)(1) in

 absence of evidence illustrating a diligent pursuit of the rights asserted); with Jones v. United

 States, 689 F.3d 621, 627 (6th Cir. 2012) (granting request for equitable tolling where the

 petitioner pled facts indicating he had been separated from his legal materials for an extended

 period of time due to multiple detention transfers and an illness). Because the supplemented

 Mathis-based claim is untimely, it will be dismissed.

                                                6


Case 3:11-cr-00113-TAV-JEM          Document 188         Filed 04/26/17    Page 6 of 9     PageID
                                          #: 761
 III.   MOTION TO DISMISS WITH PREJUDICE

        In addition to the petition, this Court is in possession of the United States’ request to

 deny and dismiss Petitioner’s collateral challenge to his career offender designation in light

 of Beckles. Petitioner has not filed a response and the time for doing so has now passed

 [Doc. 183]. This Court interprets the absence of a response as a waiver of opposition. See,

 e.g., Notredan, LLC v. Old Republic Exch. Facilitator Co., 531 F. App’x 567, 569 (6th Cir.

 2013) (explaining that failure to respond or otherwise oppose a motion to dismiss operates as

 both a waiver of opposition to, and an independent basis for granting, the unopposed

 motion); see also E.D. Tenn. L.R. 7.2 (“Failure to respond to a motion may be deemed a

 waiver of any opposition to the relief sought”).

        For the reasons that follow, the motion to deny and dismiss [Doc. 186] will be

 granted.

 IV.    TIMELY JOHNSON-BASED COLLATERAL CHALLENGE

        A.     Standard of Review

        To obtain relief under 28 U.S.C. § 2255, Petitioner must demonstrate “(1) an error of

 constitutional magnitude; (2) a sentence imposed outside the statutory limits; or (3) an error

 of fact or law . . . so fundamental as to render the entire proceeding invalid.” Short v. United

 States, 471 F.3d 686, 691 (6th Cir. 2006) (quoting Mallett v. United States, 334 F.3d 491,

 496–97 (6th Cir. 2003)). He “must clear a significantly higher hurdle than would exist on

 direct appeal” and establish a “fundamental defect in the proceedings which necessarily

 results in a complete miscarriage of justice or an egregious error violative of due process.”

 Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998).

                                                7


Case 3:11-cr-00113-TAV-JEM         Document 188        Filed 04/26/17     Page 7 of 9     PageID
                                         #: 762
        B.     Analysis

        The supplemented petition contains a single timely ground for collateral relief,

 arguing that Johnson removed aggravated assault and aggravated burglary from Section

 4B1.2’s definition of “crime of violence” and that, without those convictions, Petitioner lacks

 sufficient predicates for career offender enhancement [Docs. 170, 180].2 The United States

 opposes the requested relief because aggravated assault and aggravated burglary remain

 crimes of violence in light of Beckles.

               1.      Merits of Johnson-Based Guideline Challenge

        To the extent that Petitioner challenges his career offender designation based on

 Johnson, that argument fails because the Guidelines are not subject to void for vagueness

 analysis. Beckles, 137 S. Ct. 894. As a result, Petitioner’s prior Tennessee convictions for

 aggravated assault and aggravated burglary remain crimes of violence under Section 4B1.1.

 Divisibility of the relevant statutes under Taylor, Descamps, and Mathis is irrelevant since
 2
        The ACCA mandates a fifteen-year sentence for any felon who unlawfully possesses a
 firearm after having sustained three prior convictions “for a violent felony or a serious drug
 offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1).
 The statute defines “violent felony” as “any crime punishable by imprisonment for a term
 exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of
 physical force against the person of another” (the “use-of-physical-force clause”); (2) “is
 burglary, arson, or extortion, involves the use of explosives” (the “enumerated-offense clause”);
 or (3) “otherwise involves conduct that presents a serious potential risk of physical injury to
 another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual
 clause—that the Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563.

 Section 4B1.1 enhances a defendant’s offense level if he or she qualifies as a “career offender,”
 i.e., adult defendant whose offense of conviction is a “crime of violence or controlled substance
 offense” and who has “at least two prior felony convictions of either a crime of violence or a
 controlled substance offense.” U.S. Sentencing Manual § 4B1.1(a). “Crime of violence” under
 the Guidelines is defined in an almost identical manner as “violent felony” under the ACCA.
 See U.S. Sentencing Manual § 4B1.2(a) (adopting identical use-of-force and residual clauses as
 well as a nearly identical enumerated-offense clause).

                                                8


Case 3:11-cr-00113-TAV-JEM          Document 188       Filed 04/26/17      Page 8 of 9     PageID
                                          #: 763
 viability of the residual provision means that aggravated assault and aggravated burglary

 categorically qualify as

 crimes of violence under a combination of the enumerated-offense, use-of-physical-force, or

 residual clauses.3

 V.     CONCLUSION

        For the reasons discussed above, the United States’ motion to deny and dismiss [Doc.

 186] will be GRANTED and Petitioner’s supplemented § 2255 motion [Docs. 170, 180] will

 be DENIED and DISMISSED WITH PREJUDICE.                          The Court will CERTIFY any

 appeal from this action would not be taken in good faith and would be totally frivolous.

 Therefore, this Court will DENY Petitioner leave to proceed in forma pauperis on appeal.

 See Rule 24 of the Federal Rules of Appellate Procedure. Petitioner having failed to make a

 substantial showing of the denial of a constitutional right, a certificate of appealability

 SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule 22(b) of the Federal Rules of Appellate

 Procedure.

        AN APPROPRIATE ORDER WILL ENTER.


                                        s/ Thomas A. Varlan
                                        CHIEF UNITED STATES DISTRICT JUDGE

 3
         To determine whether a particular offense qualifies as a crime of violence under Section
 4B1.1, courts must first identify the precise crime of conviction. Descamps, 133 S. Ct. at 2285.
 They do so by employing a “categorical approach,” under which courts look “only to the
 statutory definitions—elements—of a defendant’s prior offense, and not to the particular facts
 underlying [each individual] conviction[].” Id. at 2283 (internal quotations omitted). If violation
 of the statute invariably involves the use, attempted use, or threatened use of violent force or falls
 within the generic definitions of burglary, arson, or extortion, then the conviction categorically
 qualifies as a crime of violence and the courts’ task is complete. It is only when the statute
 criminalizes conduct in excess of that covered by Section 4B1.2, that courts must determine
 whether the statute is divisible or indivisible.
                                                   9


Case 3:11-cr-00113-TAV-JEM            Document 188        Filed 04/26/17      Page 9 of 9      PageID
                                            #: 764
